









Dismissed and Opinion filed June 6, 2002









Dismissed
and Opinion filed June 6, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-02-00428-CR

____________

&nbsp;

PHILLIP LUJAN, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
262nd District Court

Harris County,
Texas

Trial Court Cause
No. 900,208

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
pled guilty to the offense of evading arrest on March 14, 2002.&nbsp; In accordance with the terms of a plea
bargain agreement with the State, the trial court sentenced appellant to two
years= incarceration in the Texas
Department of Criminal Justice, Institutional Division.&nbsp; As part of the plea bargain agreement,
appellant signed a written waiver of his right to appeal.&nbsp; Because appellant has waived his right to
appeal, we dismiss. 








Appellant
pled guilty and the trial court followed the plea bargain agreement in
assessing punishment.&nbsp; Despite having
waived the right to appeal, appellant filed a notice of appeal.&nbsp; Appellant chose to enter into an agreement
that included a waiver of the right to appeal.&nbsp;
Appellant was informed of his right to appeal, knew with certainty the
punishment he would receive, and that he could withdraw his plea if the trial
court did not act in accordance with the plea agreement.&nbsp; As appellant was fully aware of the
consequences when he waived his right to appeal, it is Anot unfair to expect him to live with
those consequences now.@&nbsp; Alzarka v. State,
60 S.W.3d 203, 206 (Tex. App.BHouston [14th Dist.] July 26, 2001, pet. granted) (quoting
Mabry v. Johnson, 467 U.S. 504, 104 S.Ct. 2543, 2547-48, 81 L.Ed.2d 437
(1984)).&nbsp; See also Blanco v. State,
18 S.W.3d 218, 219-20 (Tex. Crim. App. 2000); Buck v. State, 45 S.W.3d
275, 278 (Tex. App.CHouston [1st Dist.] 2001, no pet.).&nbsp; 

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

&nbsp;

Judgment rendered and Opinion filed June 6, 2002.

Panel consists of Justices Yates, Seymore, and Guzman.

Do Not Publish C Tex. R. App. P. 47.3(b).





